   1   Kristin Zilberstein, ESq. (SBN 200041)
       Jennifer R. Bergh, Esq. (305219)
   2   GHIDOTTI | BERGER LLP
   3   1920 Old Tustin Ave.
       Santa Ana, CA 97205
   4   Tel: (949) 427-2025
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   5   KZilberstein@ghidottiberger.com
   6
       Attorneys for Movant,
   7   U.S. Bank Trust N.A., as Trustee of the Igloo Series III Trust, its successors and assigns
   8
                                UNITED STATES BANKRUPTCY COURT
   9
                   NORTHERN DISTRICT OF CALIFORNIA – OAKLAND DIVISION
  10
  11   In Re:                                              )   CASE NO.: 16-41297
  12                                                       )
       Gabriel Orion Gutierrez,                            )   CHAPTER 13
  13                                                       )
                Debtor.                                    )   REF.: MRG-1
  14
                                                           )
  15                                                       )   STATUS REPORT RE MOTION FOR
                                                           )   RELIEF FROM STAY
  16                                                       )
                                                           )   DATE: 01/09/2019
  17
                                                           )   TIME: 9:30AM
  18                                                       )   CTRM: 220
                                                           )   PLACE: 1300 Clay Street, 2nd Floor
  19                                                       )   Oakland, CA 94612
  20                                                       )
                                                           )   Honorable William J. Lafferty
  21                                                       )
                                                           )
  22                                                       )
  23
                Secured Creditor U U.S. Bank Trust N.A., as Trustee of the Igloo Series III Trust
  24
       (“Movant”), by and through its attorney of record, GHIDOTTI | BERGER, by Kristin
  25
  26   Zilberstein, Esq., files the below status report in connection to Movant’s Motion for Relief.

  27            1. Debtor and Movant previously discussed an Adequate Protection Order in which
  28
                   Debtor would cure the arrears over 12 months.

                                                      1
                                             MFR STATUS REPORT

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   1         2. Debtor is no longer is seeking an Adequate Protection Agreement.
   2         3. Debtor does not oppose the Motion and is no longer seeking an Adequate
   3
                 Protection Agreement.
   4
             4. Debtor communicated to Counsel on January 8, 2019 that Debtor no longer
   5
   6             opposes the Motion and no longer seeks to enter into an Adequate Protection

   7             Order. As such, Movant requests that the Motion for Relief be granted.
   8   Dated: January 8, 2019                    GHIDOTTI | BERGER
   9
  10                                       /S/KRISTIN ZILBERSTEIN
       _____________________________________
  11                                       Kristin Zilberstein, Esq.,
                                           Attorney for U.S. Bank Trust N.A., as Trustee of
  12
                                           the Igloo Series III Trust,
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                                         MFR STATUS REPORT

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 1   Kristin Zilberstein, Esq. (SBN: 200041)
     Adam Thursby, Esq. (SBN: 318465)
 2   Jennifer Bergh, Esq. (SBN: 305219)
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     Attorney for Creditor
 8   U.S. Bank Trust N.A., as Trustee of the Igloo Series III Trust, its successors and assigns
 9
                                UNITED STATES BANKRUPTCY COURT
10
                  NORTHERN DISTRICT OF CALIFORNIA – OAKLAND DIVISION
11
12   In Re:                                               )   CASE NO.: 16-41297
                                                          )
13
     Gabriel Orion Gutierrez,                             )   CHAPTER 13
14          Debtors.                                      )
                                                          )   CERTIFICATE OF SERVICE
15                                                        )
                                                          )
16
                                                          )
17                                                        )
                                                          )
18                                                        )
19                                                        )
                                                          )
20
21                                    CERTIFICATE OF SERVICE
22
23            I am employed in the County of Orange, State of California. I am over the age of

24   eighteen and not a party to the within action. My business address is: 1920 Old Tustin
25   Avenue, Santa Ana, CA 92705.
26
              I am readily familiar with the business’s practice for collection and processing of
27
     correspondence for mailing with the United States Postal Service; such correspondence would
28




                                                      1
 Case: 16-41297         Doc# 73     Filed: 01/08/19 Entered:
                                       CERTIFICATE           01/08/19 17:26:57
                                                    OF SERVICE                            Page 3 of 4
 1   be deposited with the United States Postal Service the same day of deposit in the ordinary
 2   course of business.
 3
     On January 8, 2019 I served the following documents described as:
 4
            STATUS REPORT RE MOTION FOR RELIEF FROM STAY
 5
 6   on the interested parties in this action by placing a true and correct copy thereof in a sealed

 7   envelope addressed as follows:
 8
     (Via United States Mail)
 9   Debtor                                              Trustee
     Matthew Hamlin                                      Adam M Goodman
10   835 E 132nd Ave                                     Chapter 13 Trustee
11   Thornton, CO 80241                                  P.O. Box 1169
                                                         Denver, CO 80201
12   Debtor’s Counsel
     Jesse Sweeney                                       U.S. Trustee
13   25140 Lahser Rd.                                    US Trustee
14   Ste. 252B                                           Byron G. Rogers Federal Building
     Southfield, MI 48033-2753                           1961 Stout St.
15                                                       Ste. 12-200
                                                         Denver, CO 80294
16
17   _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
     the United States Postal Service by placing them for collection and mailing on that date
18   following ordinary business practices.
19   ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
20   Eastern District of California

21   __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
     America that the foregoing is true and correct.
22
23           Executed on January 8, 2019 at Santa Ana, California

24   /s / Krystle Miller
     Krystle Miller
25
26
27
28




                                                     2
 Case: 16-41297        Doc# 73     Filed: 01/08/19 Entered:
                                      CERTIFICATE           01/08/19 17:26:57
                                                   OF SERVICE                             Page 4 of 4
